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 1
                                  UNITED STATES DISTRICT COURT
 2
                                           DISTRICT OF NEVADA
 3
                                                      ***
 4
      Aaron Hugh Deaton,                                     Case No. 2:21-cv-00044-APG-BNW
 5
                              Plaintiff,
 6                                                           ORDER
            v.
 7
      Las Vegas Metropolitan Police Department,
 8
                              Defendant.
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11          Plaintiff Aaron Hugh Deaton—who is currently detained in the Clark County Detention
12   Center—submitted an application to proceed in forma pauperis (IFP). (ECF No. 1.)
13          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an incarcerated plaintiff seeking
14   to proceed without paying the filing fee must complete an application to proceed IFP and attach
15   (1) an inmate account statement for the past six months, and (2) a financial certificate from the
16   institution where he is incarcerated certifying the amount of funds in plaintiff’s inmate trust
17   account at the institution. If the plaintiff has been incarcerated at the institution for fewer than six
18   months, the certificate must show the account’s activity for the shortened period. LSR 1-2.
19          Here, plaintiff’s IFP application is incomplete because although he included an inmate
20   account statement, the financial certificate on page 4 of his application lacks a signature by an
21   “Authorized Officer.” Plaintiff’s application cannot be granted unless the Authorized Officer
22   executes the financial certificate and provides the information required in sections 1 through 4.
23          Further, plaintiff did not submit a complaint for the Court to screen. Plaintiff sued Las
24   Vegas Metropolitan Police Department but, without a complaint, the Court is unable to identify or
25   assess plaintiff’s claims. Plaintiff will be required to provide a complaint within 21 days from
26   this order, or the Court will recommend to the district judge that this matter be dismissed without
27   prejudice.
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 1             IT IS THEREFORE ORDERED that plaintiff’s Application to Proceed In Forma

 2   Pauperis (ECF No. 1) is DENIED without prejudice.

 3             IT IS FURTHER ORDERED that the Clerk of Court must send plaintiff a blank

 4   application to proceed in forma pauperis by an inmate as well as the accompanying instruction

 5   packet.

 6             IT IS FURTHER ORDERED that by February 1, 2021, plaintiff must either: (1) file a

 7   complete application to proceed in forma pauperis, on the correct form with complete financial

 8   attachments, or (2) pay the full $402 fee for filing a civil action, which includes the $350 filing

 9   fee and the $52 administrative fee.

10             IT IS FURTHER ORDERED that by February 1, 2021, plaintiff must submit his

11   complaint to the court.

12             IT IS FURTHER ORDERED that failure to timely comply with this order may result in a

13   recommendation to the district judge that this case be dismissed.

14             DATED: January 11, 2021.

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                                                           BRENDA WEKSLER
17                                                         UNITED STATES MAGISTRATE JUDGE
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